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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
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RACHEL WEINGEIST, individually and on behalf of all
other persons similarly situated who were employed by
TROPIX MEDIA & ENTERTAINMENT and TROPIX Case No.: 1:20-cv-00275 (ER) (SLC)
HOLDINGS LLC and TROPIX INC.,

                                   Plaintiff,
                                                                       CIVIL CASE DISCOVERY
        - against –                                                    PLAN AND SCHEDULING
                                                                       ORDER
TROPIX MEDIA & ENTERTAINMENT, TROPIX
HOLDINGS LLC, TROPIX, INC., MARIO BAEZA,
TAYMI CESPEDES, JAVIER RODRIGUEZ, and
TANIA MILAN,

                                    Defendants.
-------------------------------------------------------------------X

       This Civil Case Discovery Plan and Scheduling Order is adopted, after consultation with
counsel, pursuant to Rules 16 and 26(f) of the Federal Rules of Civil Procedure (“FRCP”) that:

       1.     All parties do NOT consent to conducting all further proceedings before a
Magistrate Judge, including motions and trial, pursuant to 28 U.S.C. 636(c). The parties are free
to withhold consent without adverse substantive consequences. (If all parties consent, the
remaining paragraphs of this form need not be completed.)
        2.       The case is to be tried before a jury.
        3.       Joinder of additional parties must be accomplished by March 1, 2023.
        4.       Amended pleadings may be filed until October 2, 2023.
        5.      Interrogatories shall be served no later than September 22, 2022, and responses
thereto shall be served within thirty (30) days thereafter. The provisions of Local Civil Rule 33.3
shall not apply here and counsel consent to a maximum of 100 interrogatories for plaintiffs and
100 interrogatories for all defendants.
      6.      First Request for production of Documents, if any, shall be served no later than
September 22, 2022.
        7.      Non-expert depositions shall be completed by January 30, 2023, and all plaintiffs
shall be limited to a total of ten (10) depositions and all defendants shall be limited to a total of ten
(10) depositions.
    a. Unless counsel agree otherwise or the Court so orders, depositions shall not be held until
       all parties have responded to any requests for production of documents.

    b. Depositions shall proceed concurrently.


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   c. Whenever possible, unless counsel agree otherwise or the so orders, non-party depositions
      shall follow party depositions.
       8.      Any further interrogatories, including expert interrogatories, shall be served no later
than April 30, 2023.
       9.       Rebuttal expert reports shall be served no later than May 17, 2023.
      10.     Additional provisions agreed upon by counsel are attached hereto as Attachment A
and made a part hereof.
       11.      ALL DISCOVERY SHALL BE COMPLETED BY JUNE 1, 2023.
       12.      Any motions shall be filed in accordance with the Court’s Individual Practices.
       13.     This Civil Case Discovery Plan and Scheduling Order may not be changed without
leave of Court (or the assigned Magistrate Judge acting under a specific order of reference.)
       14.      The Magistrate Judge assigned to this case is the Honorable Sarah L. Cave.
       15.     If, after entry of this Order, the parties consent to trial before a Magistrate Judge,
the Magistrate Judge will schedule a date certain for trial and will, if necessary, amend this Order
consistent therewith.
       16.      The next case management conference is scheduled for -XQH ,, 3 at DP


SO ORDERED.


Dated: New York, New York
       $XJXVW
                                                      ____________________________________
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                                                          __         _ __
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                                                      Edgardo        U.S.
                                                       dgardo Ramos, U              Court Judge
                                                                       .S. District Cou




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                                           ATTACHMENT A

EVENT                                            COMMENTS               PROPOSED DEADLINE

Completion of all fact discovery (inclusive of                          1/30/2023
depositions)

Amended pleadings filed with Court and/or                               10/02/2022
file motion for preliminary collective class
certification

Maximum number of interrogatories beyond 100 for Plaintiffs             Served: 9/8/2022
the number permitted under the federal
                                         100 for Defendants             Respond: 10/09/2022
rules and local rule 33.3

Maximum number of Requests to Admit                                     Served: 9/8/2022

                                                                        Respond: 10/9/2022

Notice to Produce/Production of Documents                               Served : 9/8/2022

                                                                        Respond: 10/9/2022

Number of depositions by Plaintiffs              Depositions limited    To Be Completed on or before
                                                 to not more than       1/30/2023
                                                 ten (10) total party
                                                 and non-party
                                                 depositions

Number of depositions by Defendants              Depositions limited    To Be Completed on or before
                                                 to a total of ten
                                                                        1/30/2023
                                                 (10) party and non-
                                                 party depositions

Number of expert witnesses of Plaintiffs         1

Number of expert witnesses of Defendants         1

Time for completion of joinder of any                                   3/1/2023
additional parties

Exchange of expert reports                                              4/30/2023

Settlement Conference                                                   TBD

Completion of expert depositions                                        5/3/2023

Commence dispositive motion and/or Class                                6/5/2023
Decertification

COMPLETION OF ALL DISCOVERY                                             6/1/2023
